USCA4 Appeal: 20-6776    Doc: 18      Filed: 09/03/2020 Pg: 1 of 1
                Case 8:20-cv-01028-PX Document 153 Filed 09/03/20 Page 1 of 1



                                                                FILED: September 3, 2020


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                          No. 20-6776
                                      (8:20-cv-01028-PX)
                                     ___________________

        KEITH SETH; DAVID SMITH; MARIO BURCH; JOHN DOES 1-5

                     Plaintiffs - Appellees

        v.

        MARY LOU MCDONOUGH

                     Defendant - Appellant

                                     ___________________

                                        MANDATE
                                     ___________________

              The judgment of this court, entered August 12, 2020, takes effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                               /s/Patricia S. Connor, Clerk
